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                     IN THE UNITED STATE DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS

SIERRA CLUB AND NATIONAL PARKS
CONSERVATION ASSOCIATION                                                     PLAINTIFFS

          v.                 Civil Action No. 4:18-cv-00854-KGB

ENTERGY ARKANSAS, INC., ENTERGY
POWER, LLC, AND ENTERGY
MISSISSIPPI, INC.                                                           DEFENDANTS




           MOTION FOR ABEYANCE AND LEAVE TO FILE RESPONSE


          COMES NOW, the State of Arkansas (“the State”), ex rel. Attorney General

Leslie Rutledge (“Attorney General”), by and through the Consumer Utilities Rate

Advocacy Division (“CURAD”), and for its Motion for Abeyance and Leave to File

Response, states as follows:

          1.     On November 16, 2018, Plaintiffs Sierra Club (“Sierra”) and National

Parks Conservation Association (“NPCA”) filed a Complaint and Demand for Jury

Trial1 (“Complaint”) and a Notice of Lodging of Settlement Agreement2 between

themselves and Defendants Entergy Arkansas, Inc.,3 Entergy Power, LLC, and

Entergy Mississippi, Inc. (collectively referred to as “Entergy”). The Settlement




1   See Docket Entry No. 1 (“Complaint”).
2   See Docket Entry No. 11 (“Settlement Agreement”).
3   Now legally Entergy Arkansas, LLC and referred to hereafter as “EAL”.
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Agreement between Sierra, NPCA, and Entergy purports to resolve a number of

claims between the parties, which are the subject of the Complaint.4

          2.      On December 13, 2018, the Attorney General sought intervention5 in

this Case due to her representation of Arkansas utility ratepayers and the impact

that the actions discussed in the Complaint and Settlement Agreement will have

upon Arkansas’s citizens. The Attorney General’s Motion to Intervene included her

proposed Answer and proposed affirmative defenses.6 These defenses include

Plaintiffs’ lack of standing, the statute of limitations, and failure to exhaust

administrative remedies.

          3.      On January 25, 2019, the Plaintiffs filed a Motion to Enter Settlement

Agreement as a Consent Judgement, asking the Court to “sign and enter” the

Settlement Agreement between the Plaintiffs and Entergy as a Consent

Judgement.7

          4.      In ruling on the Plaintiffs’ Motion, the Court will need to consider and

determine whether the Settlement Agreement is in the public interest. In addition,

the Court will need to determine whether it has subject matter jurisdiction over the

case, particularly whether the Plaintiffs have standing and whether a case or

controversy is present in the case. Subject matter jurisdiction is an issue that may




4   See Settlement Agreement.
5   See Docket Entry No. 17 (“Attorney General’s Motion to Intervene’).
6   Id., Attachment 1.
7   Docket Entry Nos. 44 and 44-1 (“Plaintiffs’ Motion”).
                                                     2
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be raised at any time, and may be raised sua sponte by the Court.8 Failure to

address subject matter jurisdiction could jeopardize the Court’s entry of the

Settlement Agreement as a consent judgment.

          5.      In addition, the Court may need to determine whether abstention is

appropriate in this case, and the effect of the affirmative defenses raised by the

proposed Intervenors.

          6.      The Attorney General has moved to intervene in order to protect the

interests of the State of Arkansas and to provide input to the Court on the

Complaint as well as the Settlement Agreement between the Plaintiffs and Entergy.

          7.      As of this date, the Court has not ruled on the Attorney General’s

Motion to Intervene.

          8.      Because the Court has not ruled on the Attorney General’s Motion to

Intervene, the Attorney General is not yet a party in this case and thus is impeded

in responding to the Plaintiffs’ Motion.9

          9.      The Attorney General requests that the Court hold in abeyance its

consideration of the Plaintiffs’ Motion to Enter Settlement Agreement as a Consent

Judgment until after the Court has ruled on the Attorney General’s Motion to

Intervene.




8   Bueford v. Resolution Tr. Corp., 991 F.2d 481, 485 (8th Cir. 1993).
9   Local Rule 7.2 indicates that only a “party” may file a response to a motion.
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      10.    The Attorney General further requests that she be granted leave to file

a response to the Plaintiffs’ Motion within fourteen (14) days after entry of an order

by the Court granting the Attorney General’s Motion to Intervene.

      WHEREFORE, the Arkansas Attorney General Leslie Rutledge respectfully

requests that this Honorable Court grant her Motion and

      A)     Hold in abeyance its consideration of the Plaintiffs’ Motion to Enter

      Settlement Agreement as a Consent Order until after the Court has ruled on

      the Attorney General’s Motion to Intervene;

      B)     Grant the Attorney General leave to file a response to the Plaintiffs’

      Motion within fourteen (14) days after entry of an order granting the

      Attorney General’s Motion to Intervene; and

      C)     Grant all other relief which may be just and appropriate.

                                       Respectfully submitted,

                                       LESLIE RUTLEDGE
                                       Attorney General

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                           CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2019, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which shall send notification
of such filing to the following:


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